Case 19-04171-jw         Doc 37    Filed 10/23/19 Entered 10/23/19 08:12:55             Desc Main
                                   Document      Page 1 of 1




                                 UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA


 IN RE:                                  CASE NO: 19-04171-jw

                                         CHAPTER: 11

 MARC K. KNAPP

                 DEBTOR.


                                      STATEMENT OF CHANGE

      The Debtor hereby gives notice as to the substance of the changes included in the attached
amended Schedules.

AMENDED SCHEDULES

          Following Schedules were amended on September 30, 2019

   1. Schedule A/B was amended as follows:
         a. Response 1.3 amended to add detail on ownership of 27.98 acres.
         b. Response 1.4 amended to add parcel number.
         c. Response 30 amended to adjust amount owed Debtor pursuant to Lease with Search
             Auto Group.
   2. Schedule D was amended as follows:
         a. Response 2.1 amended to correct address of creditor.
         b. Response 2.2 amended to state that another owes the debt in addition to Debtor.
         c. Response 2.3 amended to add detail regarding debt.
         d. Response 2.4 added IRS as secured debtor.
   3. Schedule H was amended as follows:
         a. Response 1 amended to “Yes.”
         b. Response 3 amended to add co-debtors.

                                              /s/ Marc K. Knapp
                                              Marc K. Knapp, Individually

                                              /s/ F. Miles Adler
                                              F. Miles Adler (Fed ID 9113)
                                              ADLER LAW FIRM, LLC
                                              P.O. Box 4743
                                              Pawleys Island, SC 29585
                                              T: 843.314.3204
23 October 2019                               F: 843.314.3205
Pawleys Island, South Carolina                miles@adlerlaw.partners
